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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
__________________________________________
                                          )
UNITED STATES OF AMERICA                  )
                                          )
      v.                                  )     (S1) 11 Cr. 93-01 (JSR)
                                          )     Sentencing scheduled for:
SIAVOSH HENAREH,                          )     February 27, 2013
                                          )
                                          )
            Defendant.                    )
_________________________________________ )




              SENTENCING MEMORANDUM IN SUPPORT OF
    A VARIANCE PURSUANT TO 18 U.S.C. § 3553(a) AND FOR A DOWNWARD
             DEPARTURE PURSUANT TO §§ 2D1.1 and 5K2.0(a)




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                                       INTRODUCTION

       Defendant Siavosh Henareh (“Defendant” or “Mr. Henareh”) submits the following

sentencing memorandum in support of a variance and downward departure for this Court to

fashion a just and appropriate sentence.

       Mr. Henareh is scheduled to be sentenced on February 27, 2013, in connection with a

guilty verdict on one count following a jury trial. Trial commenced on November 12, 2012 on a

one-count superseding Indictment charging conspiracy to violate Title 21, United States Code,

§§ 959, 960(a)(3) and 960(b)(1)(A), that is, importation of in excess of one kilogram heroin. On

November 27, after six days of trial, Mr. Henareh was found guilty of the heroin importation

conspiracy offense under 21 U.S.C. § 963 in an amount exceeding one kilogram.

       The Probation Office has submitted its Presentence Report (“PSR”) and calculated the

offense level at 38 and criminal history category I for a guidelines sentencing range of 235 to

293 months’ imprisonment, recommending instead a sentence of 180 months by a variance

and/or downward departure as described below.

       It is respectfully submitted that Mr. Henareh be sentenced within the range of 121-151

months’ imprisonment at offense level 32, as explained below, which reflects a sentencing

variance or downward departure based on both the unusually low purity of the heroin sample

provided for which he was convicted, and the fake composition of the much larger quantity of

“heroin” which has been, we submit, unfairly attributed to him.

I.     BACKGROUND

       Mr. Henareh was born in Iran in 1957. PSR ¶ 44. In 1979, at age 22, he left Iran as a

consequence of the Iranian revolution and fled to Bucharest, Romania where he attended college




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and medical school. PSR ¶¶ 46, 47, 67. He has lived in Bucharest for the past 32 years now

with a wife and an eight-year old son. PSR ¶¶ 47, 53.

       Mr. Henareh was arrested on July 25, 2011, in Bucharest as a result of a joint

investigation with U.S. Drug Enforcement Administration (DEA) and the Romanian National

Police (RNP). After his arrest, Mr. Henareh was detained by RNP for four months and then

flown to the United States on a DEA chartered flight to White Plains, New York on November

17, 2011, pursuant to an order of extradition. He has no previous experience with the criminal

justice system of the United States and indeed has never been in the United States before his

extradition and subsequent appearance in this case. The three-count Indictment also charged two

co-conspirators, Cetin Aksu and Bachar Wehbe, with additional criminal conduct, specifically, a

terrorism offense in violation of Title 18, United States Code, §§ 2339(b) and 2332g. PSR ¶¶ 3,

4. Mr. Henareh’s trial was severed from Aksu and Wehbe on April 30, 2012 by a Memorandum

Order (Rakoff, J.) of this Court. Subsequently, Aksu and Wehbe pleaded guilty and are awaiting

sentencing. Aksu testified against Mr. Henareh at his trial on November 20, 2012.

II.    OFFENSE CONDUCT

       The offense conduct charged Mr. Henareh with facilitating the delivery of approximately

a one-kilogram (actually 937 grams) sample of heroin from Bucharest, Romania which was

anticipated as a pre-cursor to a larger shipment to be provided by an international group of drug

suppliers and destined for the United States, as well as other countries. PSR ¶ 18. On April 23,

2011, Mr. Henareh received $23,000 in cash from an undercover RNP officer in Bucharest and

transmitted the money by halawa to Turkey. PSR ¶ 18. Two weeks later the sample of heroin

was delivered to confidential sources from the DEA and RNP in Romania. Id. The sample was




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determined to contain 937 grams of heroin with a 3.1% purity concentration. The amount and

purity was stipulated to by the Government and Defendant before trial.

       In late July 2011, Mr. Henareh was one of the targets of a sting operation conducted by

DEA and RNP who were arranging the €2.85 million purchase of a 189 kilogram shipment of

heroin in Romania from the international suppliers. PSR ¶ 19. Throughout the trial, Mr. Henareh

was depicted as a middleman who introduced certain drug suppliers to the CSs who were the

purchasers. At trial, the Government introduced conversations of recorded meetings and phone

calls spanning from December 2010 to July 2011 between a number of CSs and different

suppliers, in which a proposed shipment of heroin was discussed. PSR ¶¶ 12, 19. These

conversations and meetings took place in Turkey, Greece and Romania and – as revealed in the

transcripts of the conversations provided by the Government – the participants spoke in Arabic,

Turkish, Farsi and Romanian. The trial testimony showed that Mr. Henareh was present at some

but not all of these meetings and never explicitly confirmed the heroin shipment or its quantity.

He spoke on relatively few occasions and never acknowledged in these conversations that the

destination for any of the heroin was the United States.

       Mr. Henareh and other co-conspirators, along with participating CSs, were arrested upon

the delivery by an undercover RNP officer of the €2.85 million to Mr. Henareh’s house in

Bucharest on July 25, 2011. PSR ¶¶ 22, 23. However, the 189 kilograms of “heroin” bricks

ultimately delivered by the suppliers and seized by RNP and DEA turned out to be sham

“heroin” and instead consisted of sand, containing no actual heroin at all. PSR ¶ 23. It is

unknown if the other international suppliers who attended the meetings and/or who presumably

provided the sham “heroin” bricks in the transaction were ever arrested or prosecuted.




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III.   SENTENCING GUIDELINES CALCULATION

       The mandatory minimum term of imprisonment for a violation of 21 U.S.C. §§

960(b)(1)(A) and 963 is 10 years and the statutory maximum is life. See also U.S.S.G. §

2D1.1(a)(5). PSR ¶¶ 30, 66. Mr. Henareh has no criminal history and the guideline range for

violation of § 21 U.S.C. 963 (heroin importation conspiracy) is 235-293 months’ imprisonment.

PSR ¶¶ 42, 67. Under the U.S.S.G., Mr. Henareh is accountable for conspiring to import 190

kilograms of heroin and thus pursuant to the Drug Quantity Table in § 2D1.1(c)(1), he has for a

first offense a base offense level of 38. PSR ¶ 30. He has received no adjustments for his

relative role in the offense and because he took the stand in his own defense at trial, he has not

received an adjustment for acceptance of responsibility; thus his total adjusted offense level is

38. PSR ¶¶ 33, 34, 36, 38.

IV.    ARGUMENT FOR VARIANCE OR
       DOWNWARD DEPARTURE UNDER § 2D1.1

       As discussed below, Mr. Henareh contends that a variance or downward departure is

warranted and objects to the full attribution of the 190 kilogram quantity of heroin as it

overstates the true nature of his offense because, of that total amount, only slightly more than

three (3) grams constituted heroin at all.    Moreover, the entire negotiated transaction was

arguably the product of deceit by the suppliers; thus it is entirely possible there was never any

intention by Mr. Henareh or others to ever deliver such a quantity of heroin. And, in fact, the

only real heroin seized in this operation (937 grams) was of an unusually low purity of 3.1%, a

concentration not associated with large-scale or wholesale distribution.       Thus, pursuant to

U.S.S.G. § 2D1.1, a variance or a downward departure may be warranted. U.S.S.G. § 2D1.1,

Application Notes 5 and 26.




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       A.      Unusually Low Purity Of The Sample

       The same sentencing consideration under U.S.S.G. § 2D1.1 which may warrant an

upward departure for unusually high purity levels of heroin should be considered in this case

involving a sample which contained an unusually low purity of heroin of only 3%. Application

Note 26 explains that the purity of a drug, particularly in the case of heroin, may be relevant at

sentencing since it is often indicative of the defendant’s proximity and role in the chain of

distribution. U.S.S.G. § 2D1.1, App. Note 26. Given that drugs are typically diluted as passed

down the chain of distribution, when a defendant possesses an unusually pure quantity of

narcotics this may reveal a larger role in the conspiracy/operation. Id.

       Courts have recognized their inherent authority under § 2D1.1 to apply the converse; that

is, to downwardly depart (pre-Booker) for narcotics of unusually low purity. United States v.

Rubirosa, No. 95-1200, 1996 U.S. App. LEXIS 2034, at *13 (2d Cir. Feb. 9, 1996) (affirming

district court’s recognition of its authority under § 2D1.1 to downwardly depart based on low

purity of 21% but chose not to do so given volume of heroin involved). See also United States v.

Rosado-Ubiera, 947 F.2d 644, 645 (2d Cir. 1991) (court stated intention to grant downward

departure based on low purity of cocaine without reference to § 2D1.1); United States v.

Restrepo, 802 F. Supp. 781, 792 (E.D.N.Y. 1992), vacated on other gds., 999 F.2d 640 (2d Cir.

1993) (and overruled on other grounds) (rejecting argument that low purity is not valid

consideration for sentencing reduction). In Mr. Henareh’s case, the § 2D1.1 reverse argument

should apply as the sample was only 3% pure, an unusually low concentration acknowledged as

such at trial by the Government’s own expert witness on global heroin distribution techniques,

and not typical for large-scale or wholesale distribution. If anything, such a low purity reveals

that Mr. Henareh as a middleman had a role at the very end of the distribution chain, distant from



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the suppliers. This is also consistent with the testimony demonstrating Mr. Henareh merely

introduced certain alleged suppliers to the CSs and did not actively participate in any of the

transactions.


       B.       190 Kilograms of Predominately Fake Heroin Overstate The Scale of Offense

       The 189 kilograms of “heroin” bricks that were recovered on July 25, 2011 were made of

sand and this large quantity should not be fully attributed to Mr. Henareh’s sentencing

determination because it does not fairly reflect his conduct. U.S.S.G. § 2D1.1, Application Note

5 advises that for agreements to sell a drug in which there are inconsistencies in the quantity of

drug seized versus the agreed-upon amount, or no drug is seized, sentencing courts should

consider the amount actually delivered in order to reflect the scale of a defendant’s offense.

Specifically, “[i]n an offense involving an agreement to sell a controlled substance, the agreed-

upon quantity of the controlled substance shall be used to determine the offense level unless the

sale is completed and the amount delivered more accurately reflects the scale of the offense.”

U.S.S.G. § 2D1.1, App. Note 5. The sentencing judge is in the best position (and has the

authority) to determine the most accurate quantity to reflect the offense when there are such

inconsistencies.   See, e.g., United States v. Rodriguez, 97 Cr. 1053, 2002 U.S. Dist. LEXIS

17588 (S.D.N.Y. Sept. 18, 2002) (McKenna, J.). In Rodriguez, the court determined that 10-20

grams of heroin was a more accurate amount to reflect defendant’s role and understanding of the

transaction when no drugs were ultimately delivered, he was a mere broker or middleman and

did not know nor could reasonably foresee a 700 gram amount agreed upon by others. Id. at

**12-15. Mr. Henareh, like the defendant in Rodriguez, was not told nor did he specifically

acknowledge the price or amount to be delivered, and indeed the trial testimony never

demonstrated an explicit conversation or agreement between, and much less any authority by Mr.

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Henareh, the CSs and the suppliers about these terms. Id. at *13, 14 (referencing United States v.

Chalarca, 95 F.3d 239, 245 (2d Cir. 1996)).

       The trial testimony demonstrated that communications were made in Mr. Henareh’s

presence, but he was far from the individual “turning” the deal. One’s actual role in a narcotics

transaction can be a mitigating factor in the totality of the circumstances under U.S.S.G.

5K2.0(a) to justify a downward departure. See, e.g., United States v. Griffiths, 954 F. Supp. 738,

743 (D. Vt. 1997) (downward departure warranted considering mitigating factors under § 5K2.0

for first time offender whose function was middleman in LSD sale).           Recognition of this

uncertainty as to Mr. Henareh’s knowledge of what would be delivered and his awareness of the

scope of the transaction warrant consideration in mitigation and counsel in favor of a sentencing

departure or variance below what would otherwise be full accountability for 190 kilograms of

heroin at sentencing.

       Not only did Mr. Henareh arguably not foresee the 190 kilogram quantity, but the

multiple kilograms of heroin never materialized in Bucharest on July 25, 2011. Thus, ultimately,

the agreed-upon amount – a quantity arranged exclusively by the suppliers and the CSs – was

much larger than the actual amount delivered, which was zero. No heroin was delivered and no

drugs were seized other than the one-kilogram sample. These facts should be considered at

sentencing pursuant to Application Note 5 when determining an amount which more accurately

reflects the scale of the offense attributable to Mr. Henareh. The Guidelines calculation of 235-

293 months’ imprisonment, which holds Mr. Henareh accountable for a quantity which was

ultimately never produced, leads to overstating the seriousness of his offense and an excessive

sentencing calculation which is unwarranted.




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       The Guidelines also analogously instruct that the Court may exclude from its offense

level determination an amount of drugs if a defendant establishes he did not intend to provide or

purchase or was not capable of providing such an amount.             “If, however, the defendant

establishes that [he] did not intend to provide or purchase, or was not reasonably capable of

providing or purchasing, the agreed-upon quantity of the controlled substance, the court shall

exclude from the offense level determination the amount of controlled substance that the

defendant establishes [he] did not intend to provide or purchase or was not reasonably capable of

providing or purchasing.” § 2D1.1 App. Note 5. The Probation Office has determined, as set

forth in the PSR, that Mr. Henareh did not have “the ability to acquire actual heroin as

promised.” PSR p. 18 (Sentencing Recommendation). In recommending a downward variance

to a sentence of 180 months’ imprisonment, the Probation Office has acknowledged that as a

middleman, Mr. Henareh did not ever supply the 190 kilograms and at best was capable, and

thus accountable, for only a portion of this amount. PSR p. 19. It is evidently possible that the

suppliers planned the apparent double-cross of the transaction to dupe the CSs and deliver fake

bricks of “heroin.” It may be that the suppliers got “spooked” and decided to terminate the

transaction. Although not argued at trial, it is also entirely possible that the suppliers never

intended to deliver 190 kilograms of heroin. Simply put, it is unclear why the deal failed; the

sellers were never produced in court and their intention to provide sham or real drugs in the

transaction was never determined. Because Mr. Henareh’s intention and capability to provide

this large amount of heroin is plainly not certain, it is unfair to simply conclude that Mr. Henareh

is responsible for this entire amount.




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V.     VARIANCE PURSUANT TO SECTION 3553(a) FACTORS

       The Court should conduct an analysis of the appropriate sentence for Mr. Henareh,

pursuant to the sentencing factors found in 18 U.S.C. § 3553(a). That is, the sentence imposed

should be “sufficient, but not greater than necessary. …” 18 U.S.C. § 3553(a). Those factors

begin by instructing the Court to consider “the nature and circumstances of the offense and the

history and characteristics of the defendant” when determining an appropriate sentence. 18

U.S.C. § 3553(a)(1). The goals of sentencing mandate that an appropriate sentence should

reflect both the seriousness of the offense and provide just punishment. Id.

       Mr. Henareh had never stepped foot in the United States prior to November, 2011 and

was plucked from Bucharest, after a DEA investigation heavily sourced and funded by CSs and

which ultimately yielded sham drugs, and then placed on a chartered flight to New York where

he faced charges of conspiracy to import hundreds of kilograms of heroin into the United States.

As someone completely unfamiliar with this country’s criminal justice system and much less the

U.S. Constitution and its protections, he has struggled throughout trial and pretrial proceedings in

understanding the procedures and rights and protections he is entitled to.

       Mr. Henareh, who operated his natural foods and homeopathic import/export business,

was the sole source of financial support for his wife and young son in Bucharest. PSR ¶¶ 69, 51.

Since his arrest and detention pending these proceedings, his wife has taken in other family

members to help her provide for her family. PSR ¶¶ 51, 52. An extended sentence will put an

unusually high burden on Mr. Henareh’s family resources and future. In addition, an excessive

sentence such as the one suggested by the Guidelines will effectively result in Mr. Henareh

missing the entire childhood and adolescence of his eight year old son.




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       In addition, when fashioning an appropriate and just sentence, the Court must consider

the need for the sentence imposed “to provide the defendant with needed educational or

vocational training, medical care, or other correctional treatment in the most effective manner.”

18 U.S.C. § 3553(a)(2)(D) (emphasis supplied). Mr. Henareh is now age 55, his health has

deteriorated since his arrest in 2011 and he also suffers from hypertension. PSR ¶¶ 55, 57. He is

currently taking various medications for high blood pressure and suffers from an enlarged

prostate, for which he is awaiting treatment due to delay in retrieving his medical records from

Romania and a complete assessment at MCC by medical personnel. It is highly likely that for a

55-year old man in poor health, any sentence of 15 years or more will be tantamount to a life

sentence.

       Given all of these circumstances and the substantial negative impact Mr. Henareh’s

incarceration will have on his family, it is respectfully submitted that a sentence within the range

of 121-151 months’ imprisonment would be more than “sufficient, but not greater than

necessary…” to satisfy the goals of sentencing set forth in 18 U.S.C. § 3553(a)(2).

       This Court should consider a variance and downward departure in order to arrive at a fair

sentence for Mr. Henareh. A sentence of 180 months’ imprisonment is still excessive and

unwarranted.    Rather, fair consideration by this Court should be given to fashioning an

appropriate sentence.

                                         CONCLUSION

       Mr. Henareh objects to a sentence of 180 months’ imprisonment otherwise recommended

by the Probation Office without further consideration of the low purity of the only actual drugs

which were seized in his case, and the unfairness of holding him accountable for 190 kilograms

of largely sham “heroin” which does not accurately reflect the scale of the offense. Instead, and



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pursuant to the authority in § 2D1.1 in varying below the Probation Office’s recommendation of

180 months’ imprisonment, Defendant respectfully submits that a sentence within the range of

121-151 months’ imprisonment is more than sufficient, fair and reasonable under § 3553(a).

       For the foregoing reasons, defendant Siavosh Henareh therefore respectfully requests that

this Court impose a sentence within the range of 121-151 months at offense level 32 in lieu of

180 months, as recommended by the Probation Office.

Dated: New York, New York
       February 20, 2013
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